     Case 5:22-cv-01360-JGB-KK Document 1 Filed 08/01/22 Page 1 of 8 Page ID #:1



 1 PACIFIC TRIAL ATTORNEYS
   A Professional Corporation
 2 Scott J. Ferrell, Bar No. 202091
   sferrell@pacifictrialattorneys.com
 3 4100 Newport Place Drive, Ste. 800
   Newport Beach, CA 92660
 4 Tel: (949) 706-6464
   Fax: (949) 706-6469
 5
      Attorneys for Plaintiff
 6

 7

 8                              UNITED STATES DISTRICT COURT
 9                          CENTRAL DISTRICT OF CALIFORNIA
10

11    SONYA VALENZUELA, individually and Case No. 5:22-cv-1360
      on behalf of all others similarly situated,
12
                   Plaintiff,
13
                   v.
14                                               CLASS ACTION COMPLAINT FOR
      M.A.C. COSMETICS INC., a Delaware          VIOLATION OF PENAL CODE § 631
15    corporation; and DOES 1 through 25,
      inclusive,
16
                   Defendants.
17

18

19

20

21

22

23

24

25

26

27

28


                                      CLASS ACTION COMPLAINT
     Case 5:22-cv-01360-JGB-KK Document 1 Filed 08/01/22 Page 2 of 8 Page ID #:2



 1                                          INTRODUCTION
 2          1.     Plaintiff Sonya Valenzuela (“Plaintiff”) brings this class action
 3    individually and on behalf of all other California citizens similarly situated against
 4    Defendant for its illegal wiretapping of all communications with Defendant’s website,
 5    www.maccosmetics.com (the “Website”).
 6          2.     Unbeknownst to visitors to the Website, Defendant has secretly deployed
 7    “keystroke monitoring” software that Defendant uses to surreptitiously intercept,
 8    monitor, and record the communications (including keystrokes and mouse clicks) of all
 9    visitors to its Website. Defendant neither informs visitors nor seeks their express or
10    implied consent prior to this wiretapping.
11          3.     Defendant has violated and continues to violate the California Invasion of
12    Privacy Act (“CIPA”), California Penal Code § 631, entitling Plaintiff and Class
13    Members to relief pursuant thereto.
14                                JURISDICTION AND VENUE
15          1.     This Court has subject matter jurisdiction of this action pursuant to 28
16    U.S.C. Section 1332 of the Class Action Fairness Act of 2005 because: (i) there are 100
17    or more class members, (ii) there is an aggregate amount in controversy exceeding
18    $5,000,000, exclusive of interest and costs, and (iii) there is at least minimal diversity
19    because at least one Plaintiff and Defendant are citizens of different states.
20          2.     Pursuant to 28 U.S.C. Section 1391, this Court is the proper venue for this
21    action because a substantial part of the events, omissions, and acts giving rise to the
22    claims herein occurred in this District: Plaintiff is a citizen of California who resides in
23    this District; Defendant conducted a substantial portion of the unlawful activity in this
24    District; and Defendant conducts business in this District.
25          3.     Defendant is subject to personal jurisdiction in California based upon
26    sufficient minimum contacts which exist between Defendant and California. Defendant
27    also does business in California.
28

                                                 -2-
                                              COMPLAINT
     Case 5:22-cv-01360-JGB-KK Document 1 Filed 08/01/22 Page 3 of 8 Page ID #:3



1                                                 PARTIES
2           4.     Plaintiff is an adult citizen of California residing within the Central District
3     of California.
4           5.     Defendant is a Delaware corporation. Defendant does business and affects
5     commerce within the state of California and with California residents.
6           6.     The above-named Defendant, and its subsidiaries and agents, are
7     collectively referred to as “Defendants.”      The true names and capacities of the
8     Defendants sued herein as DOE DEFENDANTS 1 through 25, inclusive, are currently
9     unknown to Plaintiff, who therefore sues such Defendants by fictitious names. Each of
10    the Defendants designated herein as a DOE is legally responsible for the unlawful acts
11    alleged herein. Plaintiff will seek leave of Court to amend the Complaint to reflect the
12    true names and capacities of the DOE Defendants when such identities become known.
13          7.     Plaintiff is informed and believes that at all relevant times, every
14    Defendant was acting as an agent and/or employee of each of the other Defendants and
15    was acting within the course and scope of said agency and/or employment with the full
16    knowledge and consent of each of the other Defendants.
17          8.     Plaintiff is informed and believe that each of the acts and/or omissions
18    complained of herein was made known to, and ratified by, each of the other Defendants.
19                                   FACTUAL ALLEGATIONS
20          9.     Without warning visitors or seeking their consent, Defendant has secretly
21    deployed wiretapping software on its Website. This software allows Defendant to
22    surreptitiously record every aspect of a visitor’s interaction with the Website, including
23    keystrokes, mouse clicks, data entry and other electronic communications.
24          10.    Defendant’s actions are the equivalent of a vile digital trifecta: looking
25    over its    consumers’ shoulders, eavesdropping on consumers’ conversations, and
26    reading consumers’ journals. Defendant’s conduct is both illegal and offensive: indeed,
27    a recent study conducted by the Electronic Privacy Information Center, a respected
28    thought leader regarding digital privacy, found that: (1) nearly 9 in 10 adults are “very

                                                 -3-
                                       CLASS ACTION COMPLAINT
     Case 5:22-cv-01360-JGB-KK Document 1 Filed 08/01/22 Page 4 of 8 Page ID #:4



1     concerned” about data privacy, and (2) 75% of adults are unaware of the extent to
2     which     companies    gather,   store,   and    exploit   their   personal   data.        See
3     https://archive.epic.org/privacy/survey/ (last downloaded August 2022).
4             11.   Within the past year, Plaintiff visited Defendant’s Website.            Plaintiff
5     communicated with someone that Plaintiff believed to be customer service
6     representative. In actuality, Defendant’s Website utilizes a sophisticated “chatbot”
7     program that convincingly impersonates an actual human that encourages consumers to
8     share their personal information. At the same time, the Defendant simultaneously logs,
9     records and stores the entire conversation using secretly embedded wiretapping
10    technology.
11            12.   Both the “chatbot” and “replay” technology were created by third party
12    providers who license the technology to Defendant and with whom Defendant routinely
13    shares the contents of the wiretapped communications for both storage an data
14    harvesting purposes.
15            13.   Defendant did not inform Plaintiff, or any of the Class Members, that
16    Defendant was secretly monitoring, recording, and sharing their communications.
17            14.   Defendant did not seek Plaintiff’s or the Class Members’ consent to
18    monitoring, recording, and sharing the electronic communications with the Website.
19            15.   Plaintiff and Class Members did not know at the time of the
20    communications that Defendant was secretly intercepting, monitoring, recording, and
21    sharing the electronic communications.
22                                     CLASS ALLEGATIONS
23            16.   Plaintiff brings this action individually and on behalf of all others similarly
24    situated (the “Class”) defined as follows:
25            All persons within California, who (1) within one year of the filing of
26            this Complaint visited Defendant’s website, and (2) whose electronic
27            communications were recorded or shared with third parties by
28            Defendant without their prior, express consent.

                                                  -4-
                                        CLASS ACTION COMPLAINT
     Case 5:22-cv-01360-JGB-KK Document 1 Filed 08/01/22 Page 5 of 8 Page ID #:5



1           17.      NUMEROSITY: Plaintiff does not know the number of Class Members
2     but believes the number to be in the tens of thousands, if not more. The exact identities
3     of Class Members may be ascertained by the records maintained by Defendant.
4           18.      COMMONALITY: Common questions of fact and law exist as to all Class
5     Members, and predominate over any questions affecting only individual members of the
6     Class. Such common legal and factual questions, which do not vary between Class
7     members, and which may be determined without reference to the individual
8     circumstances of any Class Member, include but are not limited to the following:
9                 a. Whether Defendant caused Plaintiff’s and the Class’s electronic
10                   communications with the Website to be recorded, intercepted and/or
11                   monitored;
12                b. Whether Defendant violated CIPA based thereon;
13                c. Whether Plaintiff and Class Members are entitled to statutory damages
14                   pursuant to Cal. Penal Code § 631(a);
15                d. Whether Plaintiff and Class Members are entitled to punitive damages
16                   pursuant to Cal. Civil Code § 3294; and
17                e. Whether Plaintiff and Class Members are entitled to injunctive relief.
18          19.      TYPICALITY: As a person who visited Defendant’s Website and had her
19    electronic communications recorded, intercepted and monitored, Plaintiff is asserting
20    claims that are typical to the Class.
21          20.      ADEQUACY: Plaintiff will fairly and adequately protect the interests of
22    the members of The Class. Plaintiff has retained attorneys experienced in the class
23    action litigation. All individuals with interests that are actually or potentially adverse to
24    or in conflict with the class or whose inclusion would otherwise be improper are
25    excluded.
26          21.      SUPERIORITY: A class action is superior to other available methods of
27    adjudication because individual litigation of the claims of all Class Members is
28    impracticable and inefficient. Even if every Class Member could afford individual

                                                  -5-
                                        CLASS ACTION COMPLAINT
     Case 5:22-cv-01360-JGB-KK Document 1 Filed 08/01/22 Page 6 of 8 Page ID #:6



1     litigation, the court system could not. It would be unduly burdensome to the courts in
2     which individual litigation of numerous cases would proceed.
3                                      CAUSE OF ACTION
4                      Violations of the California Invasion of Privacy Act
5                                      Cal. Penal Code § 631
6           22.    Section 631(a) of California’s Penal Code prohibits and imposes liability
7     upon any entity that “by means of any machine, instrument, contrivance, or in any other
8     manner,” (1) “intentionally taps, or makes any unauthorized connection, whether
9     physically, electrically, acoustically, inductively, or otherwise, with any telegraph or
10    telephone wire, line, cable, or instrument, including the wire, line, cable, or instrument
11    of any internal telephonic communication system,” or (2) “willfully and without the
12    consent of all parties to the communication, or in any unauthorized manner, reads, or
13    attempts to read, or to learn the contents or meaning of any message, report, or
14    communication while the same is in transit or passing over any wire, line, or cable, or is
15    being sent from, or received at any place within this state” or (3) “uses, or attempts to
16    use, in any manner, or for any purpose, or to communicate in any way, any information
17    so obtained, or who aids, agrees with, employs, or conspires with any person or persons
18    to unlawfully do, or permit, or cause to be done any of the acts or things mentioned
19    above in this section”.
20          23.    Section 631 of the California Penal Code applies to internet
21    communications and thus applies to Plaintiff’s and the Class’s electronic
22    communications with Defendant’s Website. (“Though written in terms of wiretapping,
23    Section 631(a) applies to Internet communications. It makes liable anyone who ‘reads,
24    or attempts to read, or to learn the contents’ of a communication ‘without the consent of
25    all parties to the communication.’ Cal. Penal Code § 631(a).” Javier v. Assurance IQ,
26    LLC, 21-16351, 2022 WL 1744107, at *1 (9th Cir. May 31, 2022).
27          24.    The software employed by Defendant on its Website to record Plaintiff’s
28    and the Class’s electronic communications qualifies as a “machine, instrument,

                                                -6-
                                      CLASS ACTION COMPLAINT
     Case 5:22-cv-01360-JGB-KK Document 1 Filed 08/01/22 Page 7 of 8 Page ID #:7



1     contrivance, or … other manner” used to engage in the prohibited conduct alleged
2     herein.
3           25.     At all relevant times, Defendant intentionally caused the internet
4     communication between Plaintiff and Class Members with Defendant’s website to be
5     tapped and recorded.
6           26.     At all relevant times, Defendant willfully, and without the consent of all
7     parties to the communication, caused to be intercepted, read or attempted to be read,
8     logged, and stored, the contents of electronic communications of Plaintiff and Class
9     Members with its Website, while the electronic communications were in transit over
10    any wire, line or cable, or were being sent from or received at any place within
11    California.
12          27.     Plaintiff and Class Members did not consent to any of Defendant’s actions
13    in implementing wiretaps on its Website, nor did Plaintiff or Class Members consent to
14    Defendant’s intentional access, interception, recording, monitoring, reading, learning
15    and collection of Plaintiff and Class Members’ electronic communications with the
16    Website.
17          28.     Defendant’s conduct constitutes numerous independent and discreet
18    violations of Cal. Penal Code § 631(a), entitling Plaintiff and Class Members to
19    injunctive relief and statutory damages of at least $2,500.00 per violation.
20

21                                   PRAYER FOR RELIEF
22    WHEREFORE, Plaintiff prays for the following relief against Defendant:
23                  1.    An order certifying the Class, naming Plaintiff as the representative
24          of the Class and Plaintiff’s attorneys as Class counsel;
25                  2.    An order declaring Defendant’s conduct violates CIPA;
26                  3.    An order of judgment in favor of Plaintiff and the Class and against
27          Defendant on the cause of action asserted herein;
28

                                                 -7-
                                       CLASS ACTION COMPLAINT
     Case 5:22-cv-01360-JGB-KK Document 1 Filed 08/01/22 Page 8 of 8 Page ID #:8



1                4.     An order enjoining Defendant’s conduct as alleged herein and any
2          other injunctive relief that the Court finds proper;
3                5.     Statutory damages to Plaintiff and the Class pursuant to Cal. Penal
4          Code § 631(a);
5                6.     Punitive damages to Plaintiff and the Class pursuant to Cal. Civil
6          Code § 3294;
7                7.     Prejudgment interest;
8                8.     Reasonable attorneys’ fees and costs; and
9                9.     All other relief that would be just and proper as a matter of law or
10         equity, as determined by the Court.
11    Dated: August 1, 2022                 PACIFIC TRIAL ATTORNEYS, APC
12

13                                          By:
                                            Scott. J. Ferrell
14                                          Attorneys for Plaintiff
15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                                -8-
                                      CLASS ACTION COMPLAINT
